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                            Exhibit 1
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         Word Mark              IRON MAIDEN
         Goods and Services IC 003. US 001 004 006 050 051 052. G & S: skin care products, namely, body lotions and creams.
                            FIRST USE: 20160811. FIRST USE IN COMMERCE: 20160811
         Standard Characters
         Claimed
         Mark Drawing Code      (4) STANDARD CHARACTER MARK
         Serial Number          87135379
         Filing Date            August 11, 2016
         Current Basis          1A
         Original Filing Basis 1A
         Owner                  (APPLICANT) SkinCatering, LLC. LIMITED LIABILITY COMPANY MASSACHUSETTS Suite 220
                                1500 Main Street Springfield MASSACHUSETTS 01115
         Attorney of Record     Deborah A. Basile
         Type of Mark           TRADEMARK
         Register               PRINCIPAL
         Live/Dead Indicator    LIVE




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